            Case 18-40270-elm11 Doc 2 Filed 01/25/18                           Entered 01/25/18 07:42:42                  Page 1 of 3
 Fill in this information to identify the case:
 Debtor name        Tenet Concepts, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        18-                                                                                                     Check if this is an
 (if known)                                                                                                                  amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                             12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and             Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                 number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip           address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                             creditor               professional          unliquidated,   secured, fill in total claim amount and
                                  contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                         government                            calculate unsecured claim.
                                                         contracts)
                                                                                               Total           Deduction       Unsecured
                                                                                               claim, if       for value       claim
                                                                                               partially       of
                                                                                               secured         collateral
                                                                                                               or setoff
1   Protective Insurance          Jeffrey A. Hunt, VP,   2016 Worker's         Disputed                                           $253,000.00
    Company                       Programs               Comp Audit
    111 Congressional Blvd.,      317-452-7452
    Suite 500                     www.protectiveinsur
    Carmel, IN 46032              ance.com

2   The Hartford                  Norma Richards         2015 Worker's         Contingent                                         $241,636.00
    PO Box 660916                 800-636-4404           Comp Audit            Disputed
    Dallas, TX 75266-0916         norma.richards@theh
                                  artford.com



3   Littler Mendelson P.C.        Andrew Fray-           Attorneys Fees        Unliquidated                                       $117,929.46
    PO Box 45547                  Receivables
    San Francisco, CA             816-772-0612
    94145                         afray@littler.com



4   IPFS Corporation              Rebecca Berlanga       2016-17 Auto Policy   Disputed                                             $46,390.19
    PO Box 730223                 800-662-6226
    Dallas, TX 75373-0223         rebecca.berlanga@ip
                                  fs.com



5   McDonald Sanders, LLC         Russell Davenport      Legal Fees            Unliquidated                                         $40,644.20
    777 Main St., Suite 1300      817-336-8651
    Fort Worth, TX 76102          rad@mcdonaldlaw.co
                                  m




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 1
            Case 18-40270-elm11 Doc 2 Filed 01/25/18                       Entered 01/25/18 07:42:42                  Page 2 of 3
Debtor       Tenet Concepts, LLC                                                 Case number (if known) 18-
             Name


 Name of creditor and         Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor               professional          unliquidated,   secured, fill in total claim amount and
                              contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
6   IPFS Corporation          Robyn Provost          2015 Auto Policy      Disputed                                             $29,111.64
    24722 Network Place       800-877-7848
    Chicago, IL 60673-1247    robyn.provost@ipfs.c
                              om



7   Vanbridge LLC             Mike Fitzsimmons       2016 Worker's         Disputed                                             $22,000.00
    PO Box 416103             646-572-9352           Comp Audit
    Boston, MA 02241-6103     mfitzsimmons@vanbri
                              dge.com



8   BSX Insurance             Cole Walters, Sales    2016-17 Auto Policy   Disputed                                             $18,033.00
    3355 W. Alabama           Rep.
    Houston, TX 77098         713-622-2053
                              cole.walters@bsxi.co
                              m




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 2
Case 18-40270-elm11 Doc 2 Filed 01/25/18   Entered 01/25/18 07:42:42   Page 3 of 3
